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 5                                  UNITED STATES DISTRICT COURT
 6                                          DISTRICT OF NEVADA
 7
     UNITED STATES OF AMERICA,                              )       Case No. 2:15-cr-00069-JCM-NJK
 8                                                          )
                            Plaintiff(s),                   )       ORDER
 9                                                          )
     vs.                                                    )       (Docket No. 61)
10                                                          )
     BING HAN,                                              )
11                                                          )
                            Defendant(s).                   )
12                                                          )
13           Pending before the Court is a motion to extend the Government’s deadline to respond to the
14   pending motion to suppress. See Docket No. 61. As an initial matter, the Government asserts that the
15   parties already received an extension of that deadline through a stipulation and order extending the trial
16   date and extending generally the motions deadline and related briefing schedule. See id. at 2. The
17   undersigned is aware that it is the general practice in this District to extend the trial date and motions
18   deadline together; but when a motion has already been filed, counsel should file a separate stipulation
19   specifically directed to extending the briefing schedule on that motion. Cf. Special Order No. 109,
20   Section III.F.4 (“A separate document must be filed for each type of document or purpose”). Doing so
21   is especially important when the assigned magistrate judge is handling the motion for which the
22   extension is sought, while the stipulation to extend trial dates is handled by the assigned district judge.
23           Turning to the pending motion for extension, it is hereby GRANTED. The Government shall
24   file its response to the pending motion to suppress no later than July 28, 2015.
25           IT IS SO ORDERED.
26           DATED: July 22, 2015
27                                                  ______________________________________
                                                    NANCY J. KOPPE
28                                                  United States Magistrate Judge
